             Case 3:23-cv-00424-KAD Document 1-1 Filed 04/04/23 Page 1 of 1




                                          PAMELA M. CHAPMAN
                                      Portsmouth, Rhode Island 02871




April 3, 2023

Clerk of the Court
Abraham A. Ribicoff United States Court House
450 Main Street
Hartford, Connecticut 06103



Dear Clerk,



Enclosed please find a new Case Filing, without number, for processing in your office.

The Plaintiff is a pro se litigant seeking representation in the United States District Court for the District
of Connecticut, Hartford, under Chief Justice, Michael P. Shea, of the United States District Court for the
District of Connecticut, with Law Clerk, Amy Constantine. This is stated in paragraph 142.

Also enclosed is Exhibit A which is the burden of proof for the case filing; a Consent to Electronic
Notice by Self-Represented Litigant; and a personal bank check for $402.00.

Thank you for your assistance.



Sincerely,




r~"
Pamela Chapman
121 King Charles Drive
Portsmouth, Rhode Island 02871
401-662-9516
pmcchapman@cox.net
